Case: 4:12-cv-01677-AGF Doc. #: 1 Filed: 09/18/12 Page: 1 of 5 Page|D #: 1

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

JAMIE H()FF, )
)
Plaintiff, ) Case No.
)
v. ) St. Charles County Circuit Court
) Cause No. 1211-AC05818
NCO FINANCIAL SERVICES, INC. )
) JURY TRIAL DEMANDED
Defendant. )
NOTICE OF REMOVAL

 

Please take notice that, pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, defendant
NCO Financial Systems, Inc. (erroneously referred to by plaintiff as “NCO Financial
Services, Inc.” and hereinafter referred to as “NCO”) hereby removes the above-
captioned civil action froin the 11th Judicial Circuit Court, Associate Division, St. Charles
County, State of Missouri (hereinafter referred to as “the State Court”) to the United
States District Court for the Eastern District of Missouri. The removal of this civil action
is proper, because:

1. On or about August 13, 2012 plaintiff Jamie Hoff, through her attorneys,
initiated in the State Court a civil action entitled “Jamz`e Hojj€ Plaz`ntz']f v. NCO Fz`ncmcz`al
Servz`ces, Inc., Defenclant,” No. 1211-AC05818 on the docket of the State Court
(hereinafter referred to as “the State Court Action”) by filing a “Petition” (a copy of
Which is appended hereto as “EXhibit A”) and a “Request for Appointment of Process

Server” (a copy of Which is appended hereto as “EXhibit B”).

Case: 4:12-cv-01677-AGF Doc. #: 1 Filed: 09/18/12 Page: 2 of 5 Page|D #: 2

2. On or about August 13, 2012 the State Court clerk granted plaintiffs
request for appointment of a process server and entered a second copy of plaintiffs
“Request for Appointment of Process Server” as signed by the clerk (a copy of Which is
appended hereto as “Exhibit C”)

3. On or about August 13, 2012 the State Court clerk entered a standing order
of the Presiding Judge of the State Court entitled “ln the Eleventh Judicial Circuit Court
of Missouri, Circuit Judge Division” (a copy of Which is appended hereto as “Exhibit
D”), effecting the assignment of the State Court Action to a division of the State Court.

4. On or about August 13, 2012 the State Court clerk issued an “Associate
Division Summons” directed to NCO (a copy of Which is appended hereto as “Exhibit
E”).

5. Exhibit A, Exhibit B, EXhibit C, EXhibit D, Exhibit E and EXhibit F,
appended hereto, respectively, are true and correct copies of all process, pleadings, and
orders filed and entered by the plaintiff and the State Court and served upon defendant
NCO in the State Court Action.

6. On or about August 20, 2012 plaintiff, through her attorneys, served on
NCO, through NCG’s agent for service of process, CT Corporation, the Associate
Division Summons (EXhibit E) and a copy of the Petition (EXhibit A), as reflected in the
CT Corporation “Service of Process Transmittal” that CT Corporation sent to NCO (a
copy of Which is appended hereto as “Exhibit G”), together With the summons and

petition.

 

Case: 4:12-cv-01677-AGF Doc. #: 1 Filed: 09/18/12 Page: 3 of 5 Page|D #: 3

7. Plaintiff Jamie Hoff’ s claim against NCO is based upon the U.S. F air Debt
Collections Practices Act, 15 U.S.C. § 1692, et Seq. (hereinafter referred to as the
c‘FDCPA”).

8. Pursuant to 28 U.S.C. § 1331, this Court has original jurisdiction over
Plaintiff`s claim, because the petition filed in the State Court Action presents a federal
question arising under the FDCPA.

9. Pursuant to 28 U.S.C. § 1441(a), the State Court Action is removable to this
Honorable Court, because it is a civil action, brought in state court, over Which the district
courts of the United States have original jurisdiction

10. NCO is filing this Notice of Removal timely under 28 U.S.C. § 1446(b),
because NCO is filing it Within thirty (30) days after NCG’s receipt of the initial pleading
setting forth the claim for relief by Plaintiff.

11. NCO is serving a copy of this Notice of Removal upon Plaintiff, through
her attorneys and is concurrently filing With the clerk of court for the State Court a Notice
of Filing Notice of Removal (“Exhibit H”) Which itself has attached to it a copy of this
Notice of Removal.

WHEREFORE, Defendant NCO hereby removes the State Court Action to

this Honorable Court.

 

Case: 4:12-cv-01677-AGF Doc. #: 1 Filed: 09/18/12 Page: 4 of 5 Page|D #: 4

Respectfully submitted,

/s/ Edward S. l\/lever

EdWard S. Meyer #38491\/[0
PrrZER SNoDGRAss, P.C.
Attorneys for Defendant,

NCO Financial Systems, Inc.

100 South Fourth Street, Suite 400
St. Louis, l\/lissouri 63102-1821
Telephone: (314) 421-5545
Facsimile: (314) 421-3144

Email: meyer@rpslaw.com

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the above and foregoing NOTICE OF
REMOVAL Was filed electronically With the Clerk of the Court on September 18, 2012,
to be served by operation of the Court’s electronic filing system, or by U.S. l\/lail for
parties not registered With CM/ECF, upon the following on September 17, 2012:

Richard A. Voytas, Jr.
J ames W. Eason
Eason & Voytas
Attorneys for Plaintiff
1 North Taylor Avenue
St. Louis, MO 63108

/s/ Edvvard S. Mever

 

Case: 4:12-cv-01677-AGF Doc. #: 1 Filed: 09/18/12 Page: 5 of 5 Page|D #: 5

STATE OF MISSOURI

CITY OF ST. LGUIS

 

Edward S. Meyer, first duly sworn upon his oath, states that he is agent and
attorney for Defendant NCO Financial Systems, Inc. in this behalf; that he has read the
foregoing Notice of Removal and knows the contents thereof; and that the statements
therein contained ad true to the best of his knowledge, information and belief

nw /wf…

Edward S. Meyer #38491\/10

PITZER SNODGRASS, P.C. §
Attorneys for Defendant, §
NCO Financial Systems, Inc. §
100 South Fourth Street, Suite 400

St. Louis, Missouri 63102-1821

Telephone: (314) 42 1-5 545

Facsimile: (314) 421-3144

Email: meyer@rpslaw.com

 

Subscribed and sworn before me this z"'“§%`day of September, 2012.

My Commission Expires:

\.ffX zi;:§“§,w§ff:a "">t\,f\& whwwwefww»gfx
Notary Public {\f;;f

 

 

KATHLEEN M. SANDWEG

 
 

 

 

y l:"»+:_al

 

